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 2   A Professional Corporation
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 3   Fresno, California 93704
     Telephone (559) 431-9710
 4   Facsimile (559) 431-4108
 5   Attorney for Defendant, ELIZABETH MARIE BONILLA
 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,     )         CASE NO. 05 CR 00351 AWI
11                                 )
               Plaintiff,          )          STIPULATION TO CONTINUE
12                                 )          STATUS HEARING, AND
     vs.                           )          ORDER THEREON
13                                 )
                                   )
14   ELIZABETH MARIE BONILLA       )
                                   )          HEARING DATE: October 22, 2012
15                                 )          TIME: 10:00 a.m.
               Defendants.         )          Honorable Anthony W. Ishii
16                                 )
     ______________________________)
17
18                                     STIPULATION
19           It is hereby stipulated by and between the parties hereto
20   that the status hearing in the above entitled matter now set for
21   October 22, 2012, may be continued to March 4, 2013 at 10:00 a.m.
22           Good cause exists to continue status hearing in order to
23   allow Defendant Bonilla additional time to participate in a drug
24   treatment program counseling under the supervision of her U.S.
25   Probation Officer.
26   DATED: October 15, 2012             FLETCHER & FOGDERUDE, Inc.
27
                                         /s/ Eric K. Fogderude
28                                       ERIC K. FOGDERUDE
                                         Attorney for Defendant,
                                         ELIZABETH BONILLA
     U.S. vs. Bonilla, et al.                         Stipulation/Order to Continue Hearing
     Case No. 05-00351 OWW
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 1
 2
     Dated: October 15, 2012             Benjamin B. Wagner
 3                                       United States Attorney
 4
                                          /s/
 5                                       DUCE RICE
                                         Assistant US Attorney
 6
 7   Dated: October 15, 2012
 8                                       /s/
                                         CASEY HORNER
 9                                       US Probation Officer
10
                                          ORDER
11
12           IT IS SO ORDERED. Time is excluded pursuant to 18 U.S.C.
13   § 3161, subd.(h)(8)(A) and (B).         For the above stated reasons, the
14   court finds that the ends of justice served by the dely outweigh
15   the best interest of the public and the defendants in a speedy
16   trial. Therefore, the court grants the stipulation that the Status
17   hearing be continued to March 4, 2013 at 10:00 a.m.
18
19   IT IS SO ORDERED.
20
     Dated:    October 16, 2012
21   0m8i78                                  CHIEF UNITED STATES DISTRICT JUDGE
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     U.S. vs. Bonilla, et al.                         Stipulation/Order to Continue Hearing
     Case No. 05-00351 OWW                   2
